Saloni Mgtgarg AdtayeBante-392PM ~Document 1% Filed 02/23/22 Page 1lof1 Page ID #:95

Email: smathur@mabr.com
MASCHOFF BRENNAN GILMORE & ISRAELSEN, PLLC
100 Spectrum Center Drive, Suite 1200, Irvine, CA 92618

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

NOVARAD CORPORATION, a Utah corporation, CASE NUMBER
2:22-cv-01077
vy. Plaintiff(s)
NOVASIGNAL CORP., a Delaware corporation, QORDERON APPLICATION
OF NON-RESIDENT ATTORNEY TO APPEAR
Defendant(s). IN ASPECIFIC CASE PRO HAC VICE

 

 

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Veverka, Charles J. of [MASCHOFF BRENNAN GILMORE & ISRAELSEN,
Applicant's Name (Last Name, First Name & Middle Initial) PLLC
4352521360 4352521361 1389 Center Drive, Suite 300
Telephone Number Fax Number Park City, Utah 84098
cveverka@mabr.com

E-Mail Address Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
NOVARAD CORPORATION
Name(s) of Party (ies) Represented Plaintiff(s) [_] Defendant(s) |_| Other:
and designating as Local Counsel
Mathur, Saloni of |MASCHOFF BRENNAN GILMORE & ISRAELSEN,
Designee’s Name (Last Name, First Name & Middle Initial) PLLC

335028 9492021900 9494531104 100 Spectrum Center Drive, Suite 1200, Irvine, CA 92618
Designee’s Cal. Bar No. Telephone Number Fax Number
smathur@mabr.com -
E-Mail Address Firm/Agency Name & Address

HEREBY ORDERS THAT the Application be:

[X] GRANTED.

[_] DENIED: [_| for failure to pay the required fee.
[_| for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
[_] for failure to complete Application:

[_] pursuant to L.R. 83-2.1.3.2: [[] Applicant resides in California: [7] previous Applications listed indicate Applicant
is regularly employed or engaged in business, professional, or other similar activities in California.

[7] pursuant to L.R. 83-2.1.3.4; Local Counsel: [7] is not member of Bar of this Court; [7] 49¢s not maintain office in District.

 

 

[] because DQ <P
ITISHEREBY FURTHERORDERED THAT ean [] not be refunded.
Dated FEBRUARY 23, 2022

 

 

U.S. District Judge/U.S. Magistrate Judge

G—64ORDER(5/16) (PROPOSED) ORDERON APPLICATION OF NON-RESIDENT ATTORNEY TOAPPEARIN A SPECIFIC CASEPROHAC VICE Page 1 of 1

 
